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                     UNITED STATES DISTRICT COURT FOR THE
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                          SOUTHERN DISTRICT OF GEORGIA

                                  SAVANNAH DIVISION                        SO . Gi S )T.   GA .

UNITED STATES OF           AMERICA              )
                                                         CR 497-182
              v.                      )                  CR 497-180
                                                         CR 497-181
THOMAS BRYANT, JR., ET .  AL     )
BILLY MEDLOCK AND RALPH E . RILEY )
KEITH J . COLEMAN, ET AL )




    GOVERNMENT 'S MOTION FOR ORDER AUTHORIZING FBI TO DESTROY
WEAPONS SEIZED IN CONNECTION WITH CAPTIONED CASES

       NOW COMES the United States of America, by and through Lisa Godbey Wood,

United States Attorney for the Southern District of Georgia, and by the undersigned

Assistant United States Attorney and states the following :

       The above captioned three indictments were investigated by the Savannah office

of the Federal Bureau of Investigation .

       All of the indicted individuals have been prosecuted . All but one were convicted .

       All direct appeals have been concluded . There are also no ongoing post-

conviction proceedings involving any of these defendants . Accordingly, the movant has

not served any defendant or counsel with a copy of this motion .

       In connection with the investigation that led to the three indictments, the

following weapons were seized :




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        a . One (1) Remington Model 760, 30-06 Springfield Rifle brown and black in
               color, serial number 7468374 ; with one (1) scope Simmons whitetail
               classic 5-10X10 black in color ; one brown leather sling ;

        b. One chrome cobra .38 special with brown wood grips, serial number H-
             78069 ; one chrome Davis industries model P-32 cal .32 auto with brown
             wood grips, serial number P069164 ; one B lack Grendel, Inc ., P-10 pistol
             cal . .380, serial number 01929 ; six rounds (3 empty) of federal .38 special
             cart . Six rounds of R . P. .32 auto cartridges inside of clip ;

       c . One (1) chrome Davis Industries caliber .380 auto model P-380 with black
              plastic grips, serial number AP414968 with clip ;

       d. One (1) chrome Lorcin .25 cal auto, model L25 with pink plastic grips,
             serial number 126678 ; one (1) rip .25 auto, one (1) W . W . 25 Auto ; one (1)
             sawed-off Mossberg 410 GA-full choke shot gun, model 183T, black with
            brown wood stock, serial number 844249 ; one (1) Sentinel delux .22 cal
            revolver with brown wood grips, serial number 1924074 ;

       e. One (1) chrome .38 cal . revolver ; Smith/Wesson gun, serial number
            13763 ;

       f. One (1) black ROHM GMBH Sontheim-Brenz              Cal. .22,   model RG-24, with
             tan plastic grips, serial number 134214 ;

       9.       One each .44 cal (black powder) pistol/revolver navy arms co ., Ridgefield,
                N .J . , serial number 34218 ;

       h . One (1) black in color Hi-point firearms .9 mm model C with black plastic
              grips, serial number P022388 ;

       i . One (1) charter arms corp, pistol, black in color, five shot bulldog .44 SPL
               model, with black pachmayn grips, serial number 676317 ;

       1.       One (1) black in color Taurus .357 cal . magnum revolver with brown in
                color wooden grips, serial number KJ512923, with black holster (side
                kick) .

       No defendant or any other individual has put in a claim for any of these

weapons . Due to the passage of time, any claim interposed at this time would be

untimely .

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       WHEREFORE, the government moves the Court for an order authorizing the FBI

to dispose of the listed seized weapons in a manner consistent with their internal rules

and regulations .




                                                Respectfully submitted,

                                                LISA GODBEY WOOD
                                                UNITED STATES ATTORNEY




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                                                Assistant United States Attorney
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